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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

  ____________________________________
                                       )
  STATE OF LOUISIANA, et al.,          )
                                       )
                          Plaintiffs,  )
                                       )
              v.                       )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                       )
  CENTERS FOR DISEASE CONTROL          )
  & PREVENTION, et al.,                )
                                       )
                          Defendants.  )
  _____________________________________)


   DEFENDANTS’ MONTHLY REPORT FOR THE MONTH OF JULY PURSUANT TO
                THE COURT’S PRELIMINARY INJUNCTION
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         Pursuant to the Court’s May 20, 2022 preliminary injunction order, ECF No. 91, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the month of July 2022, (1)

  the number of single adults processed under Title 42 and Title 8 by country, (2) the number of

  recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”), Department

  of Homeland Security (“DHS”), has applied expedited removal, (3) the number of migrants that have

  been excepted from Title 42 under the NGO-supported humanitarian exception process, and (4) any

  material changes to policy regarding DHS’s application of the Title 42 process.

             1. The number of single adults processed under Title 42 and Title 8 by country.

         Below is the data for single adult encounters by CBP at the Southwest land border for the

  period of July 1-31, 2022.

                                                                           Title
   Component                          Citizenship                                 Title 8     Total
                                                                            42
                  AFGHANISTAN                                                   0       8          8
                  ANGOLA                                                        1       0          1
                  ARGENTINA                                                     0       2          2
                  ARMENIA                                                       1    145         146
                  AUSTRALIA                                                     0       2          2
                  AZERBAIJAN                                                    0       6          6
                  BANGLADESH                                                    0       5          5
                  BELARUS                                                       0     23          23
                  BELIZE                                                        0     11          11
                  BOLIVIA                                                       0       3          3
      OFO         BRAZIL                                                        0       4          4
                  BURKINA FASO (UPPER VOLTA)                                    0       3          3
                  CANADA                                                        5       2          7
                  CHILE                                                         0       2          2
                  CHINA, PEOPLES REPUBLIC OF                                    2     11          13
                  COLOMBIA                                                      8     23          31
                  COSTA RICA                                                    0       2          2
                  CUBA                                                          2     14          16
                  DOMINICA                                                      1       0          1
                  DOMINICAN REPUBLIC                                            0       4          4
                  ECUADOR                                                       8       3         11


                                                    1
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               EGYPT                                         0       1       1
               EL SALVADOR                                   9     128     137
               ETHIOPIA                                      0       1       1
               FRANCE                                        0       1       1
               GEORGIA                                       0      13      13
               GERMANY                                       1       0       1
               GHANA                                         0      11      11
               GUATEMALA                                    18      86     104
               HAITI                                         1   2,653   2,654
               HONDURAS                                     43     461     504
               INDIA                                         0       6       6
               IRAN                                          0       2       2
               ISRAEL                                        0       2       2
               ITALY                                         2       0       2
               IVORY COAST                                   0       1       1
               JAMAICA                                       0       8       8
               JAPAN                                         0       1       1
               KYRGYZSTAN                                    0       8       8
               MEXICO                                    1,611   2,699   4,310
               MOLDOVA                                       0       7       7
               NICARAGUA                                     1      23      24
               PAKISTAN                                      0       1       1
               PANAMA                                        0       3       3
               PERU                                          4      16      20
               PHILIPPINES                                   0       2       2
               PORTUGAL                                      2       0       2
               REPUBLIC OF SOUTH AFRICA                      0       1       1
               ROMANIA                                       4       4       8
               RUSSIA                                       12     420     432
               SLOVENIA                                      1       0       1
               SOUTH KOREA                                   0       2       2
               SPAIN                                         6       3       9
               TAJIKISTAN                                    0       4       4
               TURKEY                                        1       2       3
               UGANDA                                        0       2       2
               UKRAINE                                       6      15      21
               UNITED KINGDOM                                0       1       1
               UNKNOWN                                       1      10      11
               URUGUAY                                       1       0       1



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               UZBEKISTAN                                    1      2        3
               VENEZUELA                                     5     17       22
               YEMEN                                         0      1        1
   OFO Total                                             1,758 6,891     8,649
               AFGHANISTAN                                   0     75       75
               ALBANIA                                       0      8        8
               ALGERIA                                       0      6        6
               ANGOLA                                        0     76       76
               ARGENTINA                                     0     13       13
               ARMENIA                                       0     10       10
               AZERBAIJAN                                    0     25       25
               BANGLADESH                                    0    130      130
               BELARUS                                       0     17       17
               BELIZE                                        0     18       18
               BENIN                                         0      3        3
               BOLIVIA                                       0     57       57
               BRAZIL                                      282 1,659     1,941
               BURKINA FASO (UPPER VOLTA)                    0     25       25
               CAMBODIA                                      0      1        1
               CAMEROON                                      0    113      113
               CAPE VERDE, REPUBLIC OF                       0      1        1
      USBP     CENTRAL AFRICAN REPUBLIC                      0      1        1
               CHILE                                         0     10       10
               CHINA, PEOPLES REPUBLIC OF                    0    270      270
               COLOMBIA                                     64 6,793     6,857
               COSTA RICA                                    0     29       29
               CUBA                                         94 15,017   15,111
               DEMOCRATIC REPUBLIC OF CONGO
               (ZAIRE)                                       0    24        24
               DOMINICAN REPUBLIC                            3   489       492
               ECUADOR                                      93   994     1,087
               EGYPT                                         0    11        11
               EL SALVADOR                               3,845   447     4,292
               EQUATORIAL GUINEA                             0     5         5
               ERITREA                                       0    99        99
               ETHIOPIA                                      0    38        38
               GAMBIA                                        0     8         8
               GEORGIA                                       0   744       744
               GHANA                                         0   267       267
               GREECE                                        0     1         1


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               GUADELOUPE                                    5       0        5
               GUATEMALA                                10,241     561   10,802
               GUINEA                                        0      38       38
               GUINEA-BISSAU                                 0       2        2
               HAITI                                        18     147      165
               HONDURAS                                  7,867     867    8,734
               INDIA                                         0   1,093    1,093
               IRAN                                          0      18       18
               IRAQ                                          0       2        2
               IRELAND                                       0       1        1
               ISRAEL                                        0       2        2
               IVORY COAST                                   0      12       12
               JAMAICA                                       0     223      223
               JORDAN                                        0       3        3
               KAZAKHSTAN                                    0       9        9
               KENYA                                         1       2        3
               KOSOVO                                        0       6        6
               KYRGYZSTAN                                    0      25       25
               LEBANON                                       0       4        4
               LIBYA                                         0       1        1
               MACAU                                         1       0        1
               MALI                                          0      25       25
               MAURITANIA                                    0      32       32
               MEXICO                                   40,416   4,369   44,785
               MICRONESIA, FEDERATED STATES OF               1       0        1
               MOLDOVA                                       0       4        4
               MONGOLIA                                      0       1        1
               MOROCCO                                       0       3        3
               MOZAMBIQUE                                    0       1        1
               NEPAL                                         0     122      122
               NICARAGUA                                    59   9,885    9,944
               NIGER                                         0       3        3
               NIGERIA                                       0      70       70
               PAKISTAN                                      0      32       32
               PANAMA                                        0      27       27
               PARAGUAY                                      0       3        3
               PERU                                          6   3,456    3,462
               REPUBLIC OF CONGO (BRAZZAVILLE)               0      20       20
               REPUBLIC OF SOUTH AFRICA                      0       1        1



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                  ROMANIA                                                     0    120     120
                  RUSSIA                                                      0    298     298
                  SENEGAL                                                     0    146     146
                  SERBIA                                                      0      2       2
                  SIERRA LEONE                                                0     16      16
                  SOMALIA                                                     0    165     165
                  SPAIN                                                       0      1       1
                  SRI LANKA                                                   0     19      19
                  STATELESS                                                   0      2       2
                  SUDAN                                                       0      4       4
                  SURINAME                                                    0      1       1
                  SYRIA                                                       0      2       2
                  TAJIKISTAN                                                  0      8       8
                  TANZANIA                                                    0      5       5
                  THAILAND                                                    0      1       1
                  TOGO                                                        0      5       5
                  TRINIDAD AND TOBAGO                                         0      1       1
                  TUNISIA                                                     0      2       2
                  TURKEY                                                      0    985     985
                  UKRAINE                                                     0     15      15
                  URUGUAY                                                     0      2       2
                  USSR                                                        0      1       1
                  UZBEKISTAN                                                  0    158     158
                  VENEZUELA                                                  45 12,126 12,171
                  VIETNAM                                                     0     25      25
                  WESTERN SAHARA                                              0      3       3
                  YEMEN                                                       0      5       5
   USBP Total                                                            63,041 62,672 125,713
   CBP Total                                                             64,799 69,563 134,362



         2. The number of recidivist border crossers for whom DHS has applied expedited
            removal.

          From July 1 - 31, 2022, U.S. Border Patrol (“USBP”) applied expedited removal, 8 U.S.C. §

  1225(b)(1), to 1,095 single adults who attempted to unlawfully enter the United States between a port

  of entry and who had previously been encountered by USBP and processed under Title 42 or Title 8

  at least one time since March 20, 2020.


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          3. The number of migrants that have been excepted from Title 42 under the NGO-
             supported humanitarian exception process.

          From July 1 – 31, 2022, CBP’s Office of Field Operations processed 11,574 Title 42 exceptions

  at the 6 ports of entry that utilize the above-referenced NGO-supported humanitarian exception

  process. The below shows the data broken down by port.1

                     Hidalgo, TX: 4,452
                     Laredo, TX: 1,451
                     Eagle Pass, TX: 1,296
                     Paso del Norte, El Paso, TX: 1,230
                     Nogales, AZ: 387
                     San Ysidro, CA: 2,758

          4. Any material changes to policy regarding DHS’s application of the Title 42
             process.

          DHS reports that it has made no material changes to its policy on application of the Title 42

  process.2


  Date: August 16, 2022                                    Respectfully submitted,

                                                           BRIAN M. BOYNTON
                                                           Principal Deputy Assistant Attorney General
                                                           U.S. Department of Justice, Civil Division

                                                           JEAN LIN
                                                           Special Litigation Counsel (NY #4074530)


  1
   As noted in Defendants’ prior report, given a significant increase in the number of individuals who
  have presented themselves with situations that warrant humanitarian exceptions pursuant to the terms
  of the CDC’s Title 42 public health orders, DHS began on July 13, 2022 to gradually increase the
  number of humanitarian exceptions it applies, subject to operational constraints.
  2
   Defendants note that on August 15, 2022, the plaintiffs in Huisha-Huisha v. Mayorkas, No. 21-cv-
  00100 (D.D.C.), a class action challenging the application of the Title 42 policy to family units, filed a
  motion for partial summary judgment on their claim that the Title 42 policy is arbitrary and capricious.
  The Huisha-Huisha plaintiffs seek entry of an order vacating and setting aside Defendants’ “Title 42
  policy,” declaring that the Title 42 policy is arbitrary and capricious, and permanently enjoining
  Defendants from applying the Title 42 policy to class members. The court has set a hearing on
  plaintiffs’ motion for October 11, 2022.


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                                            /s/ John Robinson
                                            JOHN ROBINSON (DC #1044072)
                                            JONATHAN D. KOSSAK (DC #991478)
                                            Trial Attorneys
                                            1100 L St. N.W.
                                            Washington, DC 20530
                                            U.S. Department of Justice, Civil Division
                                            Federal Programs Branch
                                            (202) 616-8489
                                            Jean.lin@doj.gov
                                            Jonathan.kossak@usdoj.gov
                                            John.j.robinson@usdoj.gov

                                            Attorneys for Defendants




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